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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                    *
vs.                                              *   Case No.: 22-cr-15-APM
THOMAS E. CALDWELL
(U.S. v. Elmer Stewart Rhodes)                   *
       *       *      *        *      *      *       *       *      *       *       *
       CONSOLIDATED POST-TRIAL MOTIONS OF DEFENDANT CALDWELL
                               PURSUANT TO F.R.Cr.P. 29 & 33


       COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney, David

W. Fischer, Esq., and hereby moves for judgment of acquittal pursuant to F.R.C.P. 29(c) and for

a new trial pursuant to F.R.C.P. 33, and in support thereof sets forth the preliminary grounds as

to these Motions as follows:

       On November 29, 2022 the Defendant was found guilty by a jury of Obstruction of an

Official Proceeding (Count 3) and Evidence Tampering/Proceedings (Count 13). (ECF No.

411). The Defendant challenges his convictions as to these counts on the grounds set forth

below and as will be set forth in a substantive memorandum, which the Court has advised is due

on or before December 23, 2022.

       I.      The verdict was unsupported by legally sufficient evidence to sustain the
               convictions beyond a reasonable doubt.

       The Defendant submits that the verdict as to all counts was unsupported by adequate

evidence to sustain his convictions to the standard of beyond a reasonable doubt.

       II.     The verdict was against the weight of the evidence.

       The Defendant submits that the verdict was against the weight of the evidence adduced.
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       III.    Reassertion of grounds previously placed on the record.

       The Defendant hereby reasserts each and every ground previously set forth in all defense

motions during trial and trial objections, including but not limited to, Defendant’s oral and

written motions for judgment of acquittal. Additionally, the Defendant asserts as grounds for a

new trial the Court’s rulings on venue, the admission of certain evidence, the request to order

that the government provide immunity to witness Paul Stamey, and certain jury instructions. The

Defendant emphasizes that this motion is filed to preserve his right to litigate his requests under

Rule 29 and Rule 33 and that additional, more substantial arguments will be made in his

supplemental briefing.

       IV.     Legal Standard.

       Under Federal Rule of Criminal Procedure 33, the Court “may vacate any judgment and

grant a new trial if the interest of justice so requires.” Pursuant to Rule 33(a): "[T]he evidence

must preponderate heavily against the verdict, such that it would be a miscarriage of justice to let

the verdict stand . . . [.] This power should be . . . invoked only in those exceptional cases in

which the evidence weighs heavily against the verdict." United States v. Howard, 245 F. Supp.

2d 24, 30 (D.D.C. 2003) (quoting United States v. Edmonds, 765 F. Supp. 1112, 1118 (D.D.C.

1991)). Moreover, a new trial should be allowed “only if the defendant has shown that the error .

. . affected the defendant's substantial rights." United States v. Williams, 825 F. Supp. 2d 128,

132 (D.D.C. 2011).

       V.      Caldwell will supplement this motion on or before December 23, 2022.

       In addition to arguments made in various motions to dismiss, an oral motion for judgment

of acquittal, a written motion for judgment of acquittal, and oral and written motions in limine

ruled upon before and during trial, Caldwell, as instructed by the Court, will file a supplemental
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brief in support of the instant requests for a new trial and for the granting of judgment of

acquittal on or before December 23, 2022.

       WHEREFORE, the Defendant respectfully requests that he be granted a new trial or that

his motion for judgment of acquittal be granted.




                                                      Respectfully submitted:

                                                            /s/____________
                                                      David W. Fischer, Esq.
                                                      Federal Bar No. 023787
                                                      Law Offices of Fischer & Putzi, P.A.
                                                      Empire Towers, Suite 300
                                                      7310 Ritchie Highway
                                                      Glen Burnie, MD 21061
                                                      (410) 787-0826
                                                      Attorney for Defendant




                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 11th day of December, 2022, a copy of the
foregoing Defendant Caldwell’s Consolidated Post-Trial Motions Pursuant to F.R.Cr.P. 29 &
33 was electronically filed with the Clerk of the United States District Court using CM/ECF,
with a notice of said filing to the following:

Counsel for the Government:                   Office of the United States Attorney
                                              Kathryn Rakoczy, AUSA
                                              Jeffery Nestler, AUSA
                                              Troy Edwards, AUSA
                                              Alexandra Hughes, AUSA
                                              Justin Sher, AUSA
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                                              555 4th Street, NW
                                              Washington, DC 20001

                                                           /s/_____________
                                                      David W. Fischer, Esq.
